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    8                        UNITED STATES DISTRICT COURT
    9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10
   11 STEVEN ADES and HART                   CASE NO. 2:13-cv-02468 CAS (MANx)
      WOOLERY, on behalf of themselves
   12 and all others similarly situated,     ORDER MODIFYING
                                             SCHEDULING ORDER
   13              Plaintiffs,
   14 vs.
   15 OMNI HOTELS MANAGEMENT
      CORPORATION and DOES 1 through
   16 100, inclusive,
   17              Defendants.
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        ORDER MODIFYING SCHEDULING ORDER                         2:13-cv-02468 CAS (MANx)
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    1              Having read and considered the parties’ Stipulation to Modify Scheduling
    2 Order, and finding good cause therefor,
    3              IT IS HEREBY ORDERED that the dates previously set by the Court in the
    4 Order Modifying Scheduling Order (Dkt. 61) are modified as follows:
    5              Fact Discovery Cutoff:                                     April 24, 2015
    6              Last Day to File Motions:                                  April 24, 2015
    7              Exchange of Expert Reports Cut-off:                        May 29, 2015
    8              Exchange of Rebuttal Reports Cut-off:                      June 26, 2015
    9              Expert Discovery Cut-off:                                  July 24, 2015
   10              Pre-trial Conference/Hearing on Motions in Limine:         August 8, 2015 at
   11                    11:00 A.M.
   12              Jury Trial:                                                September 8, 2015
   13                    at 9:30 A.M.
   14
   15              IT IS SO ORDERED.
   16 Dated: ___November 21, 2014___
                                               Hon. Christina A. Snyder
   17
                                               United States District Judge
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        ORDER MODIFYING SCHEDULING ORDER                                      2:13-cv-02468 CAS (MANx)
